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 5
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 6 United States of America

 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. Cr 1:11-cr-00434 LJO-SKO
12                                Plaintiff,             STIPULATION REGARDING
                                                         EXCLUDABLE TIME PERIODS
13                  v.                                   UNDER SPEEDY TRIAL ACT;
                                                         FINDINGS AND ORDER
14   SERGIO HECTOR AGUILAR,
15                                Defendant.
16
                                               STIPULATION
17
            Plaintiff United States of America, by and through its counsel of record, and defendant, by
18
     and through his counsel of record, hereby stipulate as follows:
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20          1.      By previous order, this matter was set for a status conference on Monday, February 4,

21 2013, at 8:30 a.m.

22          2.      By this stipulation, defendant now moves to continue the hearing date to February 25,
23
     2013, at 8:30 a.m. and to exclude time between February 4 and February 25, 2013 for further plea
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     negotiations and due to the unavailability of counsel for the government.
25
            3.      The parties agree and stipulate, and request that the Court find the following:
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27          a.      Counsel for defendant desires additional time to discuss and effectuate the most

28 favorable resolution possible and counsel for the government is unavailable on February 4 due to out
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     of town training.
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            b.      Counsel for the parties believe that failure to grant the above-requested continuance
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 3 would deny the defendant the reasonable time necessary for effective preparation, taking into

 4 account the exercise of due diligence, and would deny “the Government continuity of counsel.”

 5          c.      Based on the above-stated findings, the ends of justice served by continuing the case
 6
     as requested outweigh the interest of the public and the defendant in a trial within the original date
 7
     prescribed by the Speedy Trial Act.
 8
            e.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
 9

10 seq., within which trial must commence, the time period of October 1, 2012, to February 4, 2013,

11 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) because it results from

12 a continuance granted by the Court at the parties’ request on the basis of the Court's finding that the

13 ends of justice served by taking such action outweigh the best interest of the public.

14
            4.      Nothing in this stipulation and order shall preclude a finding that other provisions of
15
     the Speedy Trial Act dictate that additional time periods are excludable from the period
16
     within which a trial must commence.
17

18 IT IS SO STIPULATED.

19
     DATED:         January 30, 2013.      Respectfully submitted,
20
                                           BENJAMIN B. WAGNER
21                                         United States Attorney

22
                                           /s/ Karen A. Escobar___________________
23                                         KAREN A. ESCOBAR
                                           Assistant United States Attorney
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25 DATED:           January 30, 2013.

26                                         /s/ Gary Huss_____________
                                           GARY HUSS
27                                         Counsel for Defendant

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 1                                    ORDER
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 7 IT IS SO ORDERED.

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      Dated:   January 31, 2013                                   /s/ Lawrence J. O’Neill
 9                                        DEAC_Signature-END:
                                                                UNITED STATES DISTRICT JUDGE

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